
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-67,421-01






EX PARTE LICHO ESCAMILLA








ON APPLICATION FOR WRIT OF HABEAS CORPUS IN CAUSE


NO. W01-59398-P(A) IN THE 203RD JUDICIAL DISTRICT COURT


DALLAS COUNTY






	Per Curiam.  


O R D E R



	This is a post conviction application for writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure article 11.071.

	On October 31, 2002, a jury convicted applicant of the offense of capital murder. 
The jury answered the special issues submitted pursuant to Texas Code of Criminal
Procedure article 37.071, and the trial court, accordingly, set punishment at death.  This
Court affirmed applicant's conviction and sentence on direct appeal.  Escamilla v. State,
143 S.W.3d 814 (Tex. Crim. App. 2004), cert. denied, 544 U.S. 950 (2005).

	Applicant presents ten allegations in his application in which he challenges the
validity of his conviction and resulting sentence.  Although a live evidentiary hearing was
not held, the trial judge entered findings of fact and conclusions of law.  The trial court
recommended that relief be denied.

	This Court has reviewed the record with respect to the allegations made by applicant. 
We adopt the trial judge's findings and conclusions.  Based upon the trial court's findings
and conclusions and our own review, relief is denied.

	IT IS SO ORDERED THIS THE 10TH DAY OF OCTOBER, 2007.


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